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8                            UNITED STATES DISTRICT COURT

9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                No.    2:13-cr-00016-GEB-DAD-2
12                   Plaintiff,
13        v.                                  ORDER
14   CARLOS ALEJANDRO MENDOZA-
     VILLANUEVA,
15
                     Defendant.
16

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18
                 The    government    shall      respond         to     Defendant       Carlos
19
     Alejandro      Mendoza-Villanueva’s        motion      to        have   his    sentence
20
     reduced   no    later    than   30   days      after   this        order      is   filed.
21
     Defendant shall file a reply brief within 30 days after                               the
22
     government files its response.
23
                 IT IS SO ORDERED.
24
                 Dated:      November 16, 2016
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